




NO. 07-01-0216-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



JUNE 6, 2001

______________________________



HENRY JANSSEN,



Appellant



V.



THE STATE OF TEXAS, 



Appellee

_________________________________



FROM THE COUNTY COURT AT LAW NO. 2 OF LUBBOCK COUNTY;



NO. &nbsp;2000-472,139; HON. DRUE FARMER, PRESIDING

_______________________________



Before BOYD, C.J., QUINN and JOHNSON, JJ.

Henry Janssen (appellant) appeals from a judgment convicting him of a Class A misdemeanor assault. &nbsp;Because appellant timely filed a motion for new trial, he had to file his notice of appeal within 90 days of the date sentence was imposed in open court.
 Tex. R. App. P. 26.1(
a
)(1).
 &nbsp;The judgment before us reflects that sentence was imposed on February 1, 2001, and a motion for new trial was filed February 27, 2001. &nbsp;Thus, the notice of appeal was due on May 2, 2001. &nbsp;However, it was not filed until May 16, 2001. &nbsp;Furthermore, nothing of record indicates that appellant moved to extend the period within which to file his notice of appeal. &nbsp;Consequently, the May 2nd deadline was not extended, and his notice was and is untimely. &nbsp;

The notice being untimely, we have no jurisdiction over the appeal and must dismiss it. &nbsp;
Slaton v. State
, 981 S.W.2d 208, 210 (Tex.Crim.App. 1998). &nbsp;Accordingly, it is dismissed for want of jurisdiction. &nbsp;&nbsp;

 

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;			Brian Quinn 

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;			 &nbsp;&nbsp;&nbsp;Justice 

 

 

Do not publish. HNSON, C.J., and REAVIS and CAMPBELL, JJ.

MEMORANDUM OPINION

Appellant Lucio Roman Carrasco appeals a conviction for possession of a controlled substance with intent to deliver. &nbsp;We dismiss for want of jurisdiction.





BACKGROUND

Appellant pled guilty to the charge of possession of a controlled substance with intent to deliver. &nbsp;Sentence was imposed on December 1, 2003. &nbsp;He did not file a motion for new trial. &nbsp;Notice of appeal was filed on February 6, 2004. &nbsp;

LAW

In a criminal case, appeal is perfected by timely filing a notice of appeal. &nbsp;
Tex. R. App. P.
 25.2(b). &nbsp;The notice of appeal must be filed within 30 days after the day sentence is imposed or after the day the trial court enters an appealable order, unless a timely motion for new trial is filed. 
TRAP
 &nbsp;26.2(a). &nbsp;The time for filing a notice of appeal may be extended for 15 days under certain circumstances. 
TRAP
 26.3. &nbsp;If the time for filing a notice of appeal is to be extended, both a notice of appeal and a motion for extension of time which complies with TRAP 10.5(b) must be filed within the 15 day period. &nbsp;TRAP 26.3; &nbsp;
Olivo v. State
, 918 S.W.2d 519, 523-25 (Tex.Crim.App. 1996). &nbsp;

An untimely-filed notice of appeal will not invoke the jurisdiction of the court of appeals. &nbsp;
See
 
State v. Riewe
, 13 S.W.2d 408, 411 (Tex.Crim.App. 2000). &nbsp;Thus, if an appeal is not timely perfected, a court of appeals does not have jurisdiction to address the merits of the appeal, and can take no action other than to dismiss the appeal. &nbsp;
Slaton v. State
, 981 S.W.2d 208, 210 (Tex.Crim.App. 1998); 
Olivo
, 918 S.W.2d at 523-25.





ANALYSIS AND CONCLUSION

Appellant’s notice of appeal was not timely filed. &nbsp;A motion to extend time to file the notice of appeal was not filed. &nbsp;Accordingly, this court does not have jurisdiction over the appeal. &nbsp;
Slaton
, 981 S.W.2d at 210; 
Olivo
, 918 S.W.2d at 523. &nbsp;

The appeal is dismissed for want of jurisdiction. &nbsp;
Tex. R. App. P
. 39.8, 40.2, 43.2. 



Phil Johnson

Chief Justice







Do not publish.


